Case 2:OO-cr-20015-BBD Document 92 Filed 07/11/05 Page 1 of 2 “ Page|D 90

MW£§<D.G.
UN!TED STAT§S DlSTRICT C©UQT osJuL ll PH 3= 12

Western District of Tennessee

 

ThWAS M, GUULD
United states of America oRDER HoLDING PRoBATI U.§. QBWOT 0er
FoR REvocATIoN HEARING 9* “*' ME‘W’HS
V.
Kendrick Watson Case Number: 00-20015-D

 

On July 7, 2005, the defendant appeared before me on a charge of violation of the terms
and conditions of his supervised release in this matter. At this hearing, the defendant WAIVED
his right to a preliminary and detention hearing.

Accordingly, the defendant is held to a flnal revocation hearing before Judge Bernice
Donald. It is presumed that the United States District Court will set this matter for a revocation
hearing pursuant to Federal Rule of Criminal Procedure 32.1(a)(2), and Will see that appropriate

notices are given. The defendant is remanded to the custody of the United States Marshal.

<S."'/ZZMS QHQ

S. Thomas Anderson, United States Magistrare Judge

Date.' July 8, 2005

   

This document entered on the docket sheet '
with Ru|e 55 and/or 32(b) FRCrP on

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 92 in
case 2:00-CR-200] 5 Was distributed by faX, mail, or direct printing on
July 14, 2005 to the parties listed.

 

Paul M. O'Brien

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Tony R. Arvin

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

